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                                                     U.S. Department of Justice


                                                     United States Attorney
                                                     Eastern District of New York
RTP:LZ/ADG                                           271 Cadman Plaza East
F. #2018R01916                                       Brooklyn, New York 11201


                                                     September 21, 2023

By ECF

The Honorable Denny Chin
U.S. Court of Appeals for the Second Circuit
Thurgood Marshall Courthouse
40 Foley Square
New York, NY 10007

              Re:     United States v. Goldstein, et al.
                      Crim. No. 21-550 (DC)

Dear Judge Chin:
                The government writes following oral argument on the defendants’ joint motion
for a judgment of acquittal to provide additional Second Circuit case law and analysis responsive
to the Court’s inquiry as to whether the trial evidence complies with McDonnell v. United States,
579 U.S. 550 (2016).

                First, not all counts of conviction need to be McDonnell-compliant. The
defendants were each convicted of substantive and conspiracy federal-program bribery in
violation of 18 U.S.C. § 666, charged in Counts Three, Four, and Five of the superseding
indictment. A McDonnell-compliant official act is not an element of federal program bribery.
United States v. Boyland, 862 F.3d 279, 291 (2d Cir. 2017) (concluding that the McDonnell
standard does not apply to federal program bribery under 18 U.S.C. § 666 because that section is
“more expansive than § 201,” which the McDonnell Court was construing); United States v. Ng
Lap Seng, 934 F.3d 110, 132-33 (2d Cir. 2019) (“From these textual differences among various
bribery statutes, we conclude that the McDonnell ‘official act’ standard, derived from the quo
component of bribery as defined by § 201(a)(3), does not necessarily delimit the quo components
of other bribery statutes, such as § 666. . . .”).

                Here, for each count, including the federal program bribery counts, the jury was
instructed as to the meaning of an “official act” under McDonnell. In applying the “official act”
requirement under McDonnell to the federal program bribery counts, the government proved
more than it was required to prove to convict the defendants on the federal program bribery
counts. Indeed, the same thing happened in Ng Lap Seng. The Second Circuit held that it would
have been sufficient for the district court to have charged the jury that, for section 666, “the
defendant gave or agreed to give or offered something of value to the agent with the intent to
influence the agent’s actions in connection with some sort of business transaction of the United
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Nations.” Ng Lap Seng, 934 F.3d at 139. The Second Circuit, in affirming the convictions, held
that the giving of a McDonnell instruction for § 666 was harmless error, because “[w]here a jury
returns a guilty verdict on instructions requiring it to find proved more than the law requires, a
court can generally conclude that the jury would also have returned a guilty verdict on proper
instructions omitting the unwarranted element.” Id. at 139 (emphasis in original).

                As in Ng Lap Seng, the trial evidence was plainly sufficient to support an
inference (1) that the SOMMA defendants gave Goldstein things of value intending to influence
or reward him in connection with SOMMA’s business before SchoolFood, and (2) that Goldstein
accepted things of value from the SOMMA defendants intending to be influenced or rewarded in
connection with SOMMA’s business before SchoolFood. See 18 U.S.C. §§ 666(a)(1)(B) &
(a)(2). Accordingly, even if the government failed to prove any McDonnell-compliant official
act—which the government disputes—it would not affect the defendants’ convictions as to
Counts Three, Four, and Five, because an official act is sufficient but not necessary to sustain
convictions for federal program bribery.

                As to the remaining counts, that is, Counts One, Two, Six, and Seven, the jury
was correctly charged as to the meaning of an “official act” under McDonnell. (ECF No. 157, at
24-25.) Indeed, the defendants have not raised any legal challenges to the quid pro quo portions
of the jury charge in their pending motion. Because the jury instructions were correct, the
question for the Court is whether the government offered sufficient evidence to support the jury’s
findings that the question or matter to be influenced was identified at the time of the quid pro
quo, under McDonnell and Silver. That in turn raises the question what was the moment in time
when the quid pro quo occurred for the extortion and honest services fraud charges?

                 The answer to this question varies by count. Setting aside the federal-program
bribery counts leaves Counts One, Two, Six, and Seven. Count Two is narrow in scope and
time, charging Goldstein with extorting a payment from the SOMMA defendants on December
8, 2016, in exchange for Goldstein’s approving SOMMA’s plan to reintroduce its tenders and
substitute its drumsticks. There was ample evidence to permit a rational juror to find that the
specific question or matter to be influenced—approval of SOMMA’s chicken tender plan—was
identified by November 29, 2016. The quid pro quo charged in Count Two occurred on
November 29, 2016 (the date the SOMMA defendants signed the separation agreement that
served to transfer their shares of Range Meats Supply Co. and $66,670 to Goldstein) and on
December 8, 2016 (the date when the SOMMA defendants wired $66,670 to Goldstein). See
Evans v. United States, 504 U.S. 255, 268 (1992) (the offense is completed when the public
official receives a payment in return for his agreement to perform specific official acts); Silver,
948 F.3d at 556 (“[T]he relevant point in time in a quid pro quo bribery scheme is the moment at
which the public official accepts the payment.”) (emphasis in original). The argument put forth
by the defendants to the contrary—that the quid and the quo were unrelated—is merely arguing a
competing inference that the jury clearly rejected. See McDonnell, 579 U.S. at 572-73 (“It is up
to the jury, under the facts of the case, to determine whether the public official agreed to perform
an ‘official act’ at the time of the alleged quid pro quo.”).

              Counts One, Six, and Seven each allege a 21-month, ongoing bribery scheme
extending from March 2015 to December 2016, during which the government proved that the
SOMMA defendants offered numerous bribes, in exchange for which the defendant Goldstein

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took numerous official acts. For some of those quids and quos, there was a direct exchange—
two examples include, first, in January 2016 the SOMMA defendants promised a future income
stream to Goldstein in exchange for Goldstein’s revoking a fine on SOMMA; and second, in
November/December 2016, the SOMMA defendants transferred $66,670 to Goldstein in
exchange for his approval of SOMMA’s chicken tender plan.

                These particular quids and quos were exchanged within the broader context of
Goldstein’s express offer that he, as the CEO of SchoolFood, would ensure that SchoolFood
purchased SOMMA’s products and that SOMMA would make a significant amount of money
through its business with SchoolFood (“I’m going to buy a lot of fucking chicken from you
guys”), in exchange for the SOMMA defendants’ investment in Range Meats (“let’s do the
beef”). The question or matter to be influenced was not merely that Goldstein would provide
open-ended, undefined assistance to SOMMA, but rather that he would make sure that SOMMA
profited as a SchoolFood vendor, including by ensuring that SOMMA’s products would be
expedited and that disagreements between SOMMA and SchoolFood would be resolved to
SOMMA’s benefit. (Superseding Indictment at ¶¶ 12-13.) This is simply not the type of “open-
ended promise” that Silver rejected. 948 F.3d at 559.

                 There is no requirement under the law, and defendants have cited no cases, that
 all of the parameters of a bribery scheme be expressly and completely defined from the moment
 of the scheme’s inception. That is not the law for any other criminal conspiratorial scheme and
 there is no good reason to make an exception for bribery schemes. The facts here show that the
 defendants had an understanding in the summer of 2015 that Goldstein would cause
 SchoolFood to purchase SOMMA’s products and, in exchange, the SOMMA defendants would
 invest in the Range Meats business. This understanding was then affirmed and reaffirmed
 repeatedly over the course of the conspiracy. Accordingly, for the counts charging an ongoing
 bribery scheme, there was not just one date when the quid pro quo occurred. Rather, the
 numerous and varied quids proven at trial permitted the jury to find that a concrete question to
 be influenced could have been identified at any of several points in time.1 As long as a specific
 and concrete question or matter to be influenced was identified at the moment that any of the
 quids were paid, that is enough to sustain the convictions under Silver.

               The government’s position, as stated at oral argument, is that sufficient evidence
 was adduced at trial to permit a rational juror to infer that the question or matter to be
 influenced was therefore identified as early as the summer of 2015.2 Nevertheless, the evidence

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          Indeed, using the Evans framework that a quid pro quo is complete upon payment of the
bribe, the question or matter to be influenced could have been identified as of any of the
following dates: October 19-21, 2015 (when the SOMMA defendants transferred $20,000 to
Range Meats Supply Co., including $7,000 to Goldstein’s divorce lawyer); January 22, 2016
(when defendant Iler sent the Range Meats PowerPoint presentation to Goldstein promising that
Goldstein would receive money for every hamburger Range Meats sold); November 29, 2016
(when the SOMMA defendants agreed to transfer their ownership interest in Range Meats to
Goldstein); and December 8, 2016 (when the $66,670 was transferred).
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         The jury was entitled to consider, among other things, Goldstein’s scope-limited
position at SchoolFood, his July 2015 promise to buy a lot of chicken from the SOMMA
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 showed that the outlines of the defendants’ corrupt agreement grew sharper and more clearly
 defined over time. Even if the Court were to find that the question or matter to be influenced
 was too open-ended as of the spring or summer of 2015, certainly it was sufficiently concrete
 and defined by January 2016, when the SOMMA defendants demanded Goldstein lift the fine
 while simultaneously sending him a PowerPoint presentation detailing his future earnings from
 Range Meats. Indeed, the trial evidence showed that by January 2016, the SOMMA defendants
 had made clear that Goldstein was expected to help ensure SOMMA’s success at SchoolFood
 by resolving disagreements to SOMMA’s benefit. And certainly by November and December
 2016, when the SOMMA defendants asked Goldstein to approve their chicken tender plan in
 exchange for their execution of the separation agreement and payment to Range Meats, a
 specific, focused question or matter to be influenced was plainly identified. The defense
 concedes as much. See Tr. of Oral Argument at 10:9-15 (“The government alleges that there
 was some sort of overarching scheme, but then along the way there were specific exchanges.
 There was the 20,000 for the yogurt parfait. We don’t think they’ve proven that beyond a
 reasonable doubt, but I don’t think that can dispute that that would be a sufficiently specific
 question or matter, same with the chicken tender holds.”).

                 Because there was more than enough evidence for a rational jury to find that all
 four defendants understood the specific questions or matters to be influenced at the time the
 various payments were made, the Court should deny the defendants’ motion in its entirety and
 sustain the jury’s convictions on all counts.

                                                     Respectfully submitted,

                                                     BREON PEACE
                                                     United States Attorney

                                             By:       /s/
                                                     Robert Polemeni
                                                     Andrew D. Grubin
                                                     Laura Zuckerwise
                                                     Kaitlin McTague
                                                     Assistant U.S. Attorneys
                                                     (718) 254-7000




defendants, and the fact that the SOMMA Defendants initiated discussions with Goldstein about
Range Meats at the same time that they were trying to get SOMMA onboarded as a SchoolFood
vendor. See United States v. Biaggi, 909 F.2d 662, 683-84 (2d Cir. 1990) (jury was permitted to
find that a $50,000 payment to lawyers for legal fees was a bribe because it was discussed with
public official while matters were pending on which the public official’s assistance was needed).

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